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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   IVA JEAN SMITH,
       Plaintiff,

       v.                                               Civil Action No. ELH-15-00424

   OCWEN-LOAN SERVICING LLC,
       Defendant.

                                            ORDER

       For the reasons stated in the accompanying Memorandum, it is this 6th day of July, 2015,

by the United States District Court for the District of Maryland, ORDERED that plaintiff’s suit is

DISMISSED, without prejudice, for failure to serve process upon defendant within the time

required by Fed. R. Civ. P. 4(m).

       The Clerk is directed to CLOSE this case.



                                                    /s/
                                             Ellen Lipton Hollander
                                             United States District Judge
